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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION

LAUREN PICKARD,                                )
                                               )
     Plaintiff,                                )
                                               )
v.                                             )
                                               )     CIV. ACTION NO. 3:19cv180-SRW
                                               )
SLM CORPORATION, d/b/a SALLIE                  )
MAE,                                           )
                                               )
     Defendant.                                )

                                          ORDER

       This matter is before the court on plaintiff’s notice of voluntary dismissal without

prejudice (Doc. 8), which comports with Federal Rule of Civil Procedure 41(a)(1)(A)(i).

Upon consideration of the same, it is hereby

       ORDERED that the Clerk of Court is DIRECTED to close this case. See Anago

Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012).

       Done, on this the 19th day of April, 2019.
                                                        /s/ Susan Russ Walker
                                                        Susan Russ Walker
                                                        United States Magistrate Judge
